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In this courtroom sketch, Ghislaine Maxwell, far rieht, appears\in Manhattan:federal court seated next to her attorney
Bobbi C. Sternheim, second from left, along withhher sisterosabel Maxwellxfar left, during her arraignment ona
superceding indictment, Friday, April 23, in New York. (Giizabeth WitiarcisyAP)

A thin Ghislaine Maxwell made her first}in-serson court appearance Friday, nearly a

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year after her arrest for allegedly lusingVictims into Jeffrey Epstein’s underage sex

trafficking trap.

Maxwell, 59, walked stiffly into the Manhattan federal courtroom sporting a blue jail
uniform. She had gray roots showing in her shoulder-length black hair. The British
socialite, worth more than $20 million, chatted with her defense attorneys and stared
straight ahead, showing no obvious signs of the torture she claims to be enduring in

the Metropolitan Detention Center in Brooklyn.

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Maxwell pleaded not guilty to a new charge of sex trafficking a minor in the early

2000s. The British socialite is fighting with prosecutors on multiple fronts — though

they were not addressed during the brief hearing.

 

FILE - Jeffrey Epstein and Ghislaine Maxwell are pictured at Cipriani Wall Street on March 15, 2005 in New York City.
(Patrick McMullan via Getty Image)

Maxwell’s sister, Isabel, sat in the courtroom near an Epstein victim, Danielle Bensky.

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“It’s painful, but it’s good too; it’s healing,” Bensky said after the hearing. “After not

having a trial for Epstein this will provide closure for the victims.”
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Maxwell has complained about the conditions of her confinement, the start date of her

trial and a 2016 meeting between lawyers for Epstein victims and prosecutors.

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Protestors display an anti-Jeffrey Epstein banner outside Manhattan Federal Court after Ghislaine Maxwell's court
appearance Friday, April 23, in Manhattan, New York. (Barry Williams/for New York Daily News)

Maxwell says she’s being held in solitary confinement in the jail on the Sunset Park
waterfront. Jail staff shine a light in her cell every 15 minutes overnight, preventing her
from sleeping, she says. The food is often inedible and the water is filthy, her attorneys
claim. She claims she’s lost weight and her hair is falling out. An MDC staffer allegedly

abused her in one encounter, the details of which have not been revealed.

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“Ghislaine is in very, very difficult conditions none of us would wish on our worst
enemy,” her attorney, David Oscar Markus, said outside of court. “She’s staying strong,
she’s getting ready for trial. Ghislaine is looking forward to that trial and she’s looking

forward to fighting, and she will fight.”

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Danielle Bensky (center) speaks to the media with attorneys Sigrid McCawley, left, and David Boies, after leaving
Manhattan Federal Court Friday, April 23, in Manhattan, New York. (Barry Williams/for New York Daily News)

Maxwell is currently scheduled to face trial starting July 12 for procuring and grooming

three underage Epstein victims in the mid-1990s, as well as trafficking a fourth

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underage victim between 2001 and 2004. Her lawyers have asked for a delay until early

next year. Prosecutors say they “strenuously” oppose the request.

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Judge Alison Nathan said she will soon rusé ePwhether to positpese the start of trial.

oath at a later date to be determiried:

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Isabel Maxwell, Ghislaine Maxwell's sister, leaves Manhattan Federal Court Friday, April 23, in Manhattan, New York.
(Barry Williams/for New York Daily News)

A legal battle is also brewing over a 2016 meeting — first revealed by the Daily News —
between Manhattan federal prosecutors and attorneys for Epstein accusers. Sources
told the Daily News that the victims’ lawyers urged the office to open an investigation

of Epstein and Maxwell. But the request went nowhere.

Isabel Maxwell, Ghislaine Maxwell's sister, right, leaves Manhattan Federal Court Friday, April 23, in New York. (Barry
Williarns/for New York Daily News)

Maxwell now cites that meeting as evidence that prosecutors and victims’ lawyers were
improperly in cahoots. Manhattan federal prosecutors say they opened an investigation
of Epstein and Maxwell in response to investigative reporting by the Miami Herald in
late 2018. Sources familiar with the meetings said victims’ lawyers were frustrated by
prosecutors’ failure to take action following the outreach — rebutting Maxwell’s claims

of collusion.

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“I don’t believe there is any credible basis whatsoever to assert Ms. Maxwell is the
victim. The media blitz the defendant is putting out, I don’t believe it’s fair to the real

victims. I think it’s highly undesirable,” victims’ attorney David Boies said.

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